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UN|TED STATES DlSTFf|CT COUFIT
WESTERN DlSTR|CT OF TENNESSEE
MEMPH|S DlVIS|ON

UN|TED STATES OF ANIER|CA

-v- 2:03CR20440-01-B

 

W|LL EARNEST REDNION

Gerald Greenl Retained
Defense Attorney

147 Jefferson Avenue, #800
N|emphis, TN 38103

 

JUDGN|ENT IN A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 1~15 of the indictment on December 06, 2004.
Accordingiy, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tirle s. section NM_Offense Offenses Number(s)
Concluded
18 U.S.C. § 7206(2) and Aiding or Assisting with the 04/01/2002 1-15

18 U.S.C. § 2 Preparation of False/Fraudulent
income Tax Documents

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Heform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/17/1948 N|ay 23, 2005

D_eft’s U.S. Marsha| No.: 19302-078

J. DAN|EL BREEN
U |TED STATES D|STR|CT JUDGE
/

MayA?/j_. 2 j/Q

Defendant’s N|ai|ing Address:
1049 Greenlaw
l\/lemphis, TN 38105

tr /cB
Thls document entered on tha docket sh n

with Flule 55 andiot EZ(D) FFICrP on

    

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Case No: 2:030Ft20440-01-B Defendant Name: Wi|! Earnest REDMON Page 2 014
lMPFtlSON|VlENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 Nlonths.

The Court recommends to the Bureau of Prisons:
- Placement as close to l\/|emphis, Tennessee, as possib|e.
The defendant shall surrender for service of sentence at the institution designated

by the Bureau of Prisons as notified by the United States l\/larsha|. Service of sentence
shall be stayed pending Appeal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. lVlarsha|

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Case No: 2:030Ft20440-01~B Defendant Name: Will Earnest REDIV|ON Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 1 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD CONDlTlONS OF SUPERVISION

1. The defendant shall not leave thejudiciat district without the permission cf the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in piain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:030R20440-01-B Defendant Name: Will Earnest HEDMON Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shali notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised reiease
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgmentl

ADD|T|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Cooperate with DNA collection as directed by the Probation Officer.

CR|NI|NAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shali
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Tota| Fine Tota| Restitution
$1,500.00

The Specia| Assessment shall be due immediately

FlNE
No fine imposed

RESTITUT|ON
No Ftestitution was ordered.

  

UNITED sTATE D"ISIC COURT - WESTERN DSRTCT 0 TESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:03-CR-20440 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

Camille Reese McMullen
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Ste. 800

1\/lemphis7 TN 38103

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Gerald S. Green

LAW OFFICE OF GERALD S. GREEN
147 Jefferson

Ste. 800

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Honorable J. Breen
US DISTRICT COURT

